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                                                   IN THE UNITED STATES DISTRICT COURT
                                                      FOR THE DISTRICT OF MARYLAND
              State of Maryland, et al.
                                                                               *
                    Plaintiff,
                                                                               *
                    v.                                                                            Case No.
                                                                                                             1:25-cv-00748-JKB
              United States Department of Agriculture, et. al,
                                                                               *

                    Defendant.                                                 *

                                              NOTICE OF FILING OF DOCUMENT UNDER SEAL
              Check one.
               x
                         Exhibit CC                      which is an attachment to
                          Plaintiffs' Motion for Temporary Restraining Order
                         will be electronically filed under seal within 24 hours of the filing of this Notice.



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                         will be electronically filed under seal within 24 hours of the filing of this Notice.

                         I certify that at the same time I am filing this Notice, I will serve copies of the document
              identified above by emailing as directed by the Office of the U.S. Attorney for the District of Maryland .

              March 7, 2025
              Date                                                                   Signature
                                                                                      James D. Handley, Bar No. 20299
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